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      12  /2020
              . BRUTO    N       UNITED STATES DISTRICT COURT
   THOMA.SDGIS T R IC T COURT    NORTHERN DISTRICT OF ILLINOIS
CLERK, U .S
                                       EASTERN DIVISION Judge Manish S. Shah
                                                              MagistrateJudge M. David Weisman
      UNITED STATES OF AMERICA
                                                  No. 20 CR 637
                            v.
                                                  Violations: Title 18, United States Code,
      JEREMIAH I{ARRIS                            Sections 225L(a), 22524(a) (2) (A) and
                                                  @)(1), 2422b) and 2423@)

                                          COUNT ONE

            The SPECIAL JANUARY 2020 GRAND JURY charges:

            Beginning from approximately in or around December 2018 and continuing to

     approximately in or around. March 2020, at Naperville, in the Northern District of

     Illinois, Eastern Division, and elsewhere,

                                       JEREMIAH IIARRIS,

     defendant herein, did knowingly use, persuade, induce, and entice a minor, namely

     Minor 1, to engage in sexually explicit conduct for the purpose of producing a visual

     depiction of such conduct, and for the purpose of transmitting a live visual depiction

     of such conduct, which visual depiction defendant knew and had reason to know

     would be transported and transmitted using any means and facility of interstate and

     foreign commerce, and that visual depiction was produced and transmitted using

     materials that had been mailed, shipped, and transported in and affecting interstate

     and foreign commerce by any means, and which visual depiction was actually

     transported and. transmitted. in and affecting interstate and foreign commerce;

            In violation of Title 18, United States Code, Section 225L(a).
                                   COUNT TWO

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about May 3, 2019, at Orlando, in the Middle District of Florida, Orlando

Division,

                               JEREMIAH HARRIS,

defendant herein, using a facility and means of interstate commerce, namely, the

internet, did knowingly persuade, induce, and entice Minor 1, a minor who had riot

attained the age of 18 years, to engage in sexual activity for which the defendant

could be charged with a criminal offense;

        In violation of Title l-8, United States Code, Section 2422b).
                                     COUNT THREE

       The SPECIAL JANUARY 2020 GRAND JURY further charges:

       Beginning from approximately         in or around   JuLy 2020 and continuing to

approximately in or around August 2020, at Naperville, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                                   JEREMIAH IIARRIS,

defendant herein, knowingly received and attempted to receive child pornography, as

defi.ned in   Title 18, United States Code, Section 2256(8)(4), using   a means and   facility

of interstate commerce, and that had been shipped and transported in and affecting

interstate commerce by any means, including by computer;

       In rriolation of Tit1e 18, United States Code, Section 22524(a)(2)(A) and (b)(1).
                                   COUNT FOUR


       The SPECIAL JANUARY 2020 GRAND JURY further charges:

      Beginning from approximately       in or around July 2020 and continuing to
approximately in or around August 2020, at Naperville, in the Northern District of

Illinois, Eastern Division, and elsewhere

                                JEREMIAH HARRIS,

defendant herein, did knowingly use, persuade, induce, and entice a minor, namely

Minor 2, to engage in sexually explicit conduct for the purpose of producing a visual

d.epiction of such cond.uct, and for the purpose of transmitting a live visual depiction

of such conduct, which visual depiction defendant knew and had reason to know

would be transported and transmitted using any means and facility of interstate and

foreign commerce, and that visual depiction was produced and transmitted using

materials that had been mailed, shipped, and transported in and affecting interstate

and foreiglr commerce by any means, and which visual depiction was actually

transported and transmitted in and affecting interstate and foreign commerce;

       In violation of Title 18, United States Code, Section 225I(a).
                                   COUNT FTYE

      The SPECIAL JANUARY 2020 GRA,ND JURY turther charges:

      Beginning from approximately in or around February 2019 and continuing to

approximately in or around May 2019, at Corsicana, in the Northern District of

Texas, Dallas Division, and elsewhere,

                               JEREMIAH HARRIS,

defendant herein, did knowingly use, persuade, induce, and entice a minor, namely

Minor 4, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, which visual depiction defendant knew and had reason to

know would be transported and transmitted using any means and facility of

interstate and foreign commerce, and that visual depiction was produced and

transmitted using materials that had been mailed, shipped, and transported in and

affecting interstate and foreign commerce by any means, and which visual depiction

was actually transported and transmitted in and affecting interstate and foreign

commerce;

      In violation of Title 18, United States Code, Section 2257(a).
                                    COUNT SD(

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      Beginning from approximately       in or around August 2017 and continuing    to

approximately in or around May 2Q19, at Corsicana, in the Northern District of

Texas, Dallas Division, and elsewhere,

                               JEREMIAH HARRIS,

defendant herein, did knowingly use, persuade, induce, and entice a minor, namely

Minor 5, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, and for the purpose of transmitting a live visual depiction

of such conduct, which visual depiction defendant knew and had reason to know

would be transported and transmitted using any means and facility of interstate and

foreign commerce, and that visual depiction was produced and transmitted using

materials that had been mailed, shipped, and transported in and affecting interstate

and foreign commerce by any means, and which visual depiction was actually

transported and transmitted in and affecting interstate and foreign commerce;

      In violation of Title 18, United States Code, Section 225L(a).
                                  COUNT SEVEN

      The SPECIAL JANUARY 2020 GRAND ruRY further charges:

      On or about May 2, 20L9, at Dallas, in the Northern District of Texas, Dallas

Division, and elsewhere,

                                JEREMIATI IIARRIS,

defendant herein, traveled   in interstate commerce, from Texas to Florida, for the
purpose of engaging   in illicit sexual conduct as defi,ned in Title   18, United States

Code, Section 2423(f), in that he traveled with intent to engage in a sexual act   with

Minor 5, who was 15 years o1d, and who was at least four years younger than

defendant;

      In violation of Title 18, United States Code, Section 2423b).
                          FORFEITURE ALLEGATION

       The SPECIAL JANUARY        2O2O   GRAND JURY further alleges:

       1.    Upon conviction of an offense in violation of Title 18, United States Code,

Section 225L or 2252A as set forth in this Indictment, defendant shall forfeit to the

United States of America any matter which contains visual depictions described in

Title 18, United States Code, Section 2252A; any property constituting and traceable

to gross profits and other proceeds obtained from such offense; and any property used

and intended to be used to commit and to promote the commission of such offense,

and any property traceable to such property, as provided by Title 18, United States

Code, Section 2253(a).

      2.     The property to be forfeited includes, but is not limited to the following

specifi.c property: an App1e iPhone 11 Pro Max, S/N G6TCC8AYN70K, bearing         IMEI

353892108825699.




                                                     A TRUE BILL:




                                                     FOREPERSON


Signed by Timothy J. Storino on behalf of the
UNITED STATES ATTORNEY
